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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

DENVER PULLIN and PATSY PULLIN, a
married couple,

Plaintiffs,

No. CV 04 2077 PCT FJM

FORD MOTOR COMPANY’S MOTION
FOR SUMMARY JUDGMENT
VS.

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)
)
)
)
BRIDGESTONE/FIRESTONE NORTH )
AMERICAN TIRE L.L.C., a Delaware limited _)
liability corporation, doing business in Arizona; )
FORD MOTOR COMPANY, a Delaware )
corporation doing business in Arizona; )
CHAPARRAL FORD, INC., a Texas )
Corporation; JOHN DOES | through X and )
JANE DOES | through X, their respective )
spouses; BLACK CORPORATIONS | through V )
and WHITE PARTNERSHIPS | through V, )

)

)

Defendants.

)

Defendant Ford Motor Company (“Ford”) moves for complete summary judgment

 

pursuant to Fed. R. Civ. P. 56 on all plaintiffs’ claims against Ford, including negligence,
strict liability and punitive damages. This motion is supported by the attached statement of
facts (“SOF”) and the following Memorandum of Points and Authorities.
MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION
This product liability action arises from a two vehicle collision on August 27, 2003.

Plaintiffs filed their Amended Complaint on August 27, 2004. Despite having over two

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years to investigate this accident and prepare their case, plaintiffs failed to uncover or
disclose any evidence of a defect in design or manufacture in the subject vehicle, a 2002
Ford Excursion. Plaintiffs formally admitted that the only component of the subject 2002
Ford Excursion that they contended was defective was the driver’s side rear tire
manufactured by Defendant Bridgestone/Firestone North American Tire, LLC (hereafter
“Bridgetsone”) (SOF 1). Plaintiffs further admitted that the only component of the subject
2002 Ford Excursion they contended proximately caused plaintiffs’ alleged injuries and
damages was the driver's side rear tire (SOF 2). Finally, plaintiffs did not disclose any
expert who will testify that the 2002 Ford Excursion was defective or unreasonably
dangerous, or that Ford was negligent in its design or manufacture of the vehicle. The sole
product defect claim related to the driver's side rear tire manufactured by Bridgestone.
However, even that no longer applies because plaintiffs have since (1) settled with
Bridgestone and (2) amended their disclosures to name Bridgestone’s expert as their
expert, incorporating his opinions that the tire was not defective either (SOF 12, 9).

Plaintiffs have no remaining product liability claims, entitling Ford to summary
judgment.
Il. FACTUAL BACKGROUND

Ms. Maria Traylor was driving her 2002 Ford Excursion southbound on U.S. 93 when
the driver's side rear tire allegedly suffered a de-tread. Ms. Traylor lost control of the
Excursion, crossed over into oncoming traffic, and collided with plaintiff Denver Pullin, who
was driving northbound in a 1993 Lincoln Town Car. After colliding with the Town Car, Ms.
Traylor's Excursion rolled over the top of plaintiffs’ Town Car, injuring Mr. Pullin.
lil. © PROCEDURAL HISTORY

Plaintiffs filed their First Amended Complaint on August 27, 2004, and Ford
answered on October 4, 2004. On September 26, 2005 plaintiffs responded to Ford’s

Requests for Admission and admitted the following:

1) That the only component of the subject 2002 Ford Excursion that plaintiffs
contend was defective is the rear driver's side tire (SOF 1).

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2) That the only component of the subject 2002 Ford Excursion that plaintiffs
contend proximately plaintiffs alleged injuries and damages was the rear
driver's side tire (SOF 2).

3) That plaintiffs are aware of no facts regarding mechanical malfunction of the
subject 2002 Ford Excursion proximately causing plaintiffs’ injuries or
damages (SOF 3).

4) That the design of the subject 2002 Ford Excursion vehicle (as distinct from
the tires) did not proximately cause plaintiffs’ alleged injuries and damages
(SOF 4).

5) That the manufacture of the subject 2002 Ford Excursion vehicle (as distinct

from the tires) did not proximately cause plaintiffs’ injuries and damages
(SOF 5).

On September 1, 2005, plaintiffs disclosed their experts and their opinions.
Plaintiffs did not disclose any expert who will testify that the 2002 Ford Excursion was
defective or unreasonably dangerous (SOF 6). Plaintiffs also did not disclose any experts
that will testify that Ford was negligent in its design and manufacture of the subject 2002
Ford Excursion (SOF 7).

Defendant Bridgestone submitted its expert report of Joseph Grant on December 5,
2005 (SOF 9). Plaintiffs incorporated the expert report of Joseph Grant into their
disclosure statement on December 9, 2005 (SOF 12). Mr. Grant is a tire expert and does
not have any opinions adverse to Ford (SOF 9). Mr. Grant concluded that the subject tire
was not defective or unreasonably dangerous in design or manufacture (SOF 10). Mr.
Grant concluded in his report that the subject tire experienced a tread and top steel belt
detachment as a result of a localized road hazard injury and overdeflected operation (SOF
11). Defendant Bridgestone, the manufacturer of the driver’s side rear tire, settled with

plaintiffs and a Notice of Settlement was submitted to the Court.

IV. SUMMARY JUDGMENT FOR FORD IS REQUIRED BECAUSE PLAINTIFFS HAVE
NO ADMISSIBLE EVIDENCE OF A DEFECT

To succeed on their strict liability claim against Ford, plaintiffs would have to
establish "that the product is in a defective condition and unreasonably dangerous, the
defective condition existed at the time the product left the defendant's control, and the
defective condition is the proximate cause of the plaintiff's injury.". Gosewisch v. American

Honda Motor Co., 152 Ariz. 400, 737 P.2d 376 (1987) (citing Rocky Mountain Fire and Cas.

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Co. v. Biddulph Oldsmobile, 131 Ariz. 289, 640 P.2d 851 (1982); Amburgery v. Holan Div.

Of Ohio Brass Co., 142 Ariz. 531, 606 P.2d 21 (1980)). "Although the doctrine of strict

liability in tort imposes liability without proof of negligence, the law does not impose liability
for every injury caused by a product. Liability exists only if the product was in a ‘defective
condition unreasonably dangerous.” Dart v. Wiebe Mfg., Inc., 147 Ariz. 242, 709 P.2d 876
(1985) (citing Restatement (Second) of Torts § 402A (1965)). Thus, a manufacturer is not
required to make an accident-proof or fool proof product, nor must it insure the safety of the
users of the products. Adroit Supply Co., v. Electric Mut. Liability Ins. Co., 112 Ariz. 385,
390, 542 P.2d 810, 815 (1975) (affirming jury instruction that states that a manufacturer is
not under a duty to make or design a fool-proof product, nor is a manufacturer an insurer of
the safety of the user); Cota v. Harley Davidson, 141 Ariz. 7, 684 P.2d 888 (Ct. App. 1984)
(upholding a jury instruction that states that a manufacturer is not an insurer of the safety of
the user); Vineyard v. Empire Machinery Co., Inc., 119 Ariz. 502, 581 P.2d 1152 (Ct. App.
1978) (stating that merely because the use of a product results in injury does not impose
liability upon the manufacturer). Rather, a product is defective if a condition makes the
product unsafe for normal handling and consumption. Readenour v. Marion Power Shovel,
149 Ariz. 442, 719 P.2d 1058, 1063 (1986) (citing Restatement (Second) of Torts § 402A
(1965)).

Despite the passage of almost two and a half years following this accident, plaintiffs
have produced no admissible evidence that the 2002 Ford Excursion was defective and
unreasonably dangerous. Plaintiffs’ responses to Ford’s Requests for Admission undeniably
establish that plaintiffs’ only claim of defect related to the driver's side rear tire (SOF1-5).
Since then, plaintiffs have adopted the report of tire expert Joseph Grant, who has concluded
that the subject tire, manufactured by Bridgestone/, was not defective or unreasonably
dangerous in design or manufacture (SOF 10). Plaintiffs now have absolutely no evidence of
any kind of defect in the 2002 Ford Excursion.

Because plaintiffs have failed to provide any admissible evidence to support their

product liability claim, summary judgment must be granted.

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V. PLAINTIFFS HAVE NO EVIDENCE OF NEGLIGENCE BY FORD

Plaintiffs also broadly alleged that Ford breached its duty to “exercise reasonable
care in the designing, manufacturing, engineering, fabricating, constructing, assembling,
producing, building, labeling, testing, marketing, promoting, advertising, distributing, and/or
selling of the vehicle”. See Plaintiffs’ Amended Complaint, Count Two, 418.

To succeed on a negligence claim, plaintiffs must prove that Ford’s design,
manufacture, engineering, fabricating, construction, assembly, production, building, labeling,
testing, marketing, promoting, advertising, distributing, and/or selling of the subject vehicle
was negligent. Negligence is the failure to use reasonable care. To determine reasonable
care for a manufacturer, it must be proven that Ford’s conduct presented a foreseeable,
unreasonable risk of harm. See Rossell v. Volkswagen of America, 147 Ariz. 160, 709 P.2d
517 (1985). It must also be proven that the negligence proximately caused plaintiffs’ injuries
and damages. RAdI (Civil) 3d Fault 1,2,3 (1997). Plaintiffs have disclosed no evidence that
Ford negligently designed, tested or manufactured the 2002 Ford Excursion, and no
evidence that Ford’s conduct proximately caused plaintiffs’ injuries and damages. Plaintiffs
admitted this in their answers to Requests for Admission (SOF 1-5). In addition, plaintiffs
disclosed no expert who will testify that Ford was negligent or caused plaintiffs’ injuries and
damages (SOF 8).

Because plaintiffs have no evidence that Ford was negligent, summary judgment

must be granted for Ford on the negligence claim as well.

VI. PLAINTIFFS HAVE NO EVIDENCE TO SUPPORT AN AWARD OF PUNITIVE
DAMAGES AGAINST FORD MOTOR COMPANY

Plaintiffs also asserted a punitive damages claim. Punitive damages are damages
that are awarded in excess of full compensation to the victim to punish the wrongdoer.
Linthicum v. Nationwide Life Ins. Co., 150 Ariz. 326, 723 P.2d 675 (1986). Punitive damages
are an “extraordinary civil remedy,” justified only in “those limited cases of consciously
malicious or outrageous acts of misconduct where punishment and deterrence is both

paramount and likely to be achieved.” Linthicum, 150 Ariz. at 322, 723 P.2d at 680. Punitive

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damages are “undeserved as punishment’ unless defendant acted with a knowing, culpable
state of mind, or defendant’s conduct was so egregious that the requisite mental state can
be inferred.” Gurule v. Illinois Mut. Life and Cas. Co., 152 Ariz. 600, 601, 734 P.2d 85, 86
(1987) (citation omitted). A jury will not be permitted to consider an award of punitive
damages if the evidence is only slight and inconclusive. White v. Mitchell, 157 Ariz. 523,
759 P.2d 1327 (Ct. App. 1988).

To be awarded punitive damages in Arizona, it must be proven by clear and
convincing evidence that a defendant's wrongful conduct was guided by evil motives or
willful or wanton disregard of the interests of others. Saucedo v. Salvation Army, 200 Ariz.
179, 182, 24 P.2d 1274, 1278 (2001). Clear and convincing evidence is the highest burden
of proof in a civil case. Thompson v. Better-Bilt Aluminum Products Co.., Inc., 171 Ariz. 550,
957, 832 P.2d 203, 210 (1992) (clear and convincing evidence is “more onerous than a
simple preponderance of the evidence”). Clear and convincing evidence is evidence that
makes the truth of the contention “highly probable.” State v. King, 158 Ariz. 419, 422, 763
P.2d 239, 242 (1988).'

“To recover punitive damages something more is required over and above the ‘mere
commission of a tort.” Linthicum, 150 Ariz. at 332, 723 P.2d at 681 (citing Rawlings v.
Apodaca, 151 Ariz. 149, 162, 726 P.2d 565, 578 (1986)); Saucedo, 200 Ariz. at 182, 24
P.3d at 1277. That is, “a plaintiff must prove by clear and convincing evidence that the
defendant engaged in aggravated and outrageous conduct with an ‘evil mind.” Saucedo,
200 Ariz. at 182, 24 P.3d at 1277 (emphasis added); Linthicum, 150 Ariz. at 331, 723 P.2d
at 680 (holding that plaintiffs must show that defendants had an “evil mind” with “intent to
injure the plaintiff’).

The wrongdoer must be consciously aware of the wrongfulness or harmfulness of his
conduct and yet continue to act in the same manner in deliberate contravention to the rights

of the victim. It is only when the wrongdoer should be consciously aware of the evil of his

 

' Although King is a criminal case, the standard for clear and convincing evidence is the same as that in civil
cases. In King, the court stated: “Nor do we find any authority for the proposition that the ‘clear and
convincing evidence’ standard is given a different definition in criminal cases.” King, 158 Ariz. at 422, 763
P.2d at 242.

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actions, of the spitefulness of his motives or that his conduct is so outrageous, oppressive or
intolerable in that it creates a substantial risk of tremendous harm to others that the evil mind
required by the imposition of punitive damages may be found. Linthicum, 150 Ariz. at 330,
723 P.2d at 679.

The key is the wrongdoer’s intent to injure the plaintiffs or his deliberate interference
with the rights of others, consciously disregarding the unjustifiably substantial risk of
significant harm to them. While the necessary ‘evil mind’ may be inferred, it is still this ‘evil
mind’ in addition to outwardly aggravated, outrageous, malicious, or fraudulent conduct,
which is required for punitive damages. Linthicum, 150 Ariz. at 331, 723 P.2d at 680
(emphasis added) (citation omitted). The requisite intent and outrageous and egregious
conduct must occur in tandem with the conduct giving rise to the injury to recover punitive
damages. Saucedo, 200 Ariz. at 182, 24 P.3d at 1277; Rawlings, 151 Ariz. 149, 726 P.2d
565.

The “evil mind” standard will only by met if it is proven that: (1) Ford intended to cause
injury; (2) Ford’s wrongful conduct was motivated by spite or ill will; or (3) Ford acted to serve
its own interest, having reason to know and consciously disregarding a substantial risk that

"2 Bradshaw v. State Farm Mut.

its conduct might significantly injure the rights of others.
Auto. Ins. Co., 157 Ariz. 411, 422, 758 P.2d 1313, 1324 (1988). It is the defendants’

motivation — its state of mind — that is the crucial consideration. Gurule, 152 Ariz. at 602, 734

 

P.2d at 87. Moreover, the acts complained of must have been reprehensible and outrageous
acts of misconduct to permit an award of punitive damages. Linthicum, 150 Ariz. at 331, 723
P.2d at 680.

Plaintiffs have disclosed literally no evidence, let alone clear and convincing
evidence, that Ford engaged in the aggravated and outrageous conduct required to
support a claim for punitive damages. No evidence exists that Ford intended to cause

injury, that Ford’s alleged conduct was motivated by spite or ill will, or that Ford acted in its

 

* This last factor cannot be construed in such a way as to render superfluous the consistent holding of the
Arizona Supreme Court in Bradshaw and numerous other cases that “something more” than bad faith is
required to permit punitive damages. The act must be “aggravated, outrageous, oppressive, or fraudulent.”
Linthicum, 150 Ariz. at 331-33, 723 P.2d at 680-82.

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own interest to serve its own conduct, having reason to know and consciously disregard a
substantial risk that its conduct might significantly injure others. See Linthicum, 150 Ariz.
at 331, 723 P.2d at 680. Therefore, Ford is entitled to judgment on plaintiffs’ claim for

punitive damages.

Vil. CONCLUSION

For the reasons stated above, Ford respectfully asks the Court to enter summary

judgment in Ford’s favor on all of plaintiffs’ claims against Ford.
DATED this 27" day of January, 2006.
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CERTIFICATE OF SERVICE

| hereby certify that on the 27" of January, 2006, | caused the attached
document to be electronically transmitted to the Clerk’s Office using the CM/ECF
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